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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                                 )    Chapter 11
                                                                       )
W. R. GRACE & CO., et al.,1                                            )    Case No. 01-01139 (JKF)
                                                                       )    (Jointly Administered)
                                                                       )
                                Debtors.                               )    Objection Deadline: February 16, 2010
                                                                       )

    SUMMARY APPLICATION OF THE LAW OFFICES OF JANET S. BAER, P.C. FOR
      COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
    BANKRUPTCY COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE MONTHLY
     INTERIM PERIOD FROM DECEMBER 1, 2009, THROUGH DECEMBER 31, 2009

Name of Applicant:                                                              The Law Offices of Janet S. Baer, P.C.

Authorized to Provide Professional Services to:                                 W. R. Grace & Co., et al., Debtors and
                                                                                Debtors-in-Possession

Date of Retention:                                                              Retention Order entered March 24, 2009,
                                                                                effective as of February 11, 2009

Period for which compensation and reimbursement                                 December 1, 2009, to December 31, 2009
is sought:

Amount of Compensation sought as actual,                                        $145,342.50
reasonable and necessary:

Amount of Expense Reimbursement sought as actual,                               $ 1,707.64
reasonable and necessary:

This is a X monthly ___ interim __ final application.

1    The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1
     Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.),
     CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food „N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc.,
     Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace
     Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
     Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical
     Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace
     Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn
     International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon
     Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal,
     Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
     Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management,
     Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA
     Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc.
     (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass,
     Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal
     Company, H-G Coal Company.
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         The total time expended for the preparation of this application is approximately 8.0

hours, and the corresponding estimated compensation that will be requested in a future

application is approximately $4,000.00.

         This is The Law Offices of Janet S. Baer P.C.‟s (“JSB”) monthly application for interim

compensation of services for the interim fee period December 1, 2009, through December 31,

2009. The following applications have been filed previously in the Chapter 11 Cases:

                                                                 Requested                                Approved
    Date Filed            Period Covered     Requested Fees                          Approved Fees
                                                                 Expenses                                 Expenses

March 27, 2009           2/1 - 2/28/09              $75,250.00        $1,430.21     Interim approval   Interim approval
April 29, 2009           3/1 – 3/31/09             $113,875.00        $2,436.16     Interim approval   Interim approval
May 8, 2009              Jan.- March, 2009         $189,125.00        $3,866.87     Interim approval   Interim approval
May 29, 2009             4/1-4/30/09               $122,500.00        $5,441.23     Interim approval   Interim approval
June 29, 2009            5/1-5/31/09               $104,062.50        $7,305.16     Interim approval   Interim approval
July 29, 2009            6/1-6/30/09               $157,250.00        $6,199.89     Interim approval   Interim approval
August 14, 2009          April-June, 2009          $383,812.50   $18,946.28         Interim approval   Interim approval
September 1, 2009        7/1-7/31/09               $132,875.00        $3495.71      Interim approval   Interim approval
September 29,2009        8/1-8/31/09               $132,187.50        $3,690.83     Interim approval   Interim approval
October 27, 2009         9/1-9/30/09               $209,760.00        $7,303.75     Interim approval   Interim approval
November 18, 2009        July-Sept., 2009          $474,822.50   $14,490.29             Pending            Pending
November 24, 2009        10/1-10/31/09             $191,795.00        $6,472.87     Interim approval   Interim approval
December 21, 2009        11/01/-11/30/09           $122,245.00         $744.30      Interim approval   Interim approval

         The attorneys of JSB who rendered professional services in these cases during the Fee

Period are as follows:

                               Position with the                                            Total
       Name of                                             Area of           Hourly                       Total
                              Applicant and Year                                            Billed
  Professional Person                                     Expertise        Billing Rate                Compensation
                                  Admitted                                                  Hours

  Janet S. Baer            President         1982       Restructuring             $625.00    124.40       $77,750.00

  Roger J. Higgins         Of Counsel        1999       Restructuring             $475.00    142.30       $67,592.50

  Totals for Attorneys                                                                       266.70      $145,342.50
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       There are no paraprofessionals of JSB who rendered professional services in these cases

during the Fee Period that have charged fees to the Debtors.

Grand Total for Fees: $       145,342.50

Grand Total for Expenses: $ 1,707.64
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                                     COMPENSATION BY MATTER

                                                                                Total Billed   Total Fees
Matter Number                             Matter Description
                                                                                  Hours        Requested

         4         Case Administration                                                  5.60       $3,500.00

         5         Claim Analysis Objection & Resolution (Asbestos)                     1.10        $ 687.50

         6         Claim Analysis Objection and Resolution (Non-Asbestos)            127.20     $61,560.00

         8         Employee Benefits/Pension                                            0.30        $ 187.50

         11        Fee Applications, Applicant                                          8.80       $4,465.00

         12        Fee Applications, Others                                             1.50        $ 937.50

         13        Financing                                                          25.40     $13,505.00

         14        Hearings                                                             4.10       $2,562.50

         15        Litigation and Litigation Consulting                               42.10     $26,312.50

         16        Plan and Disclosure Statement                                      50.60     $31,625.00

Totals for Matters                                                                   266.70    $145,342.50


                                           EXPENSE SUMMARY

                                Service Description                                       Amount

Airfare, travel service fees                                                                        $471.20

Long Distance/Conference Telephone Charges                                                          $898.05

Computerized Legal Research                                                                         $225.50

Postage, Messenger, Service, and Miscellaneous                                                      $112.89

Total:                                                                                             $1,707.64
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              WHEREFORE, JSB respectfuly requests (a) that an allowance be made to it, as fully

described above for: (i) 80% of the amount of $145,342.50 for reasonable and necessary

professional services JSB has rendered to the Debtors during the Fee Period ($116,274.00);

and (ii) 100% of the reimbursement of actual and necessary costs and expenses incurred by JSB

during the Fee Period ($1,707.64) (b) that both fees and expenses are payable as administrative

expenses of       the Debtors' estates; and (c) that this Court grant such fuher relief as is equitable

and just.

Dated: January 27, 20 1 0                       Respectfully submitted,


                                                THE LA W OFFICES



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                                                Chicago, Ilinois 60602
                                                (312) 641-2162
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In re:                                                                 )    Chapter 11
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                                                                       )    (Jointly Administered)
                                                                       )
                                Debtors.                               )    Objection Deadline: February , 2010
                                                                       )

    FEE AND EXPENSE DETAIL FOR THE LAW OFFICES OF JANET S. BAER, P.C.’S
     MONTHLY FEE APPLICATION FOR THE PERIOD FROM DECEMBER 1, 2009,
                       THROUGH DECEMBER 31, 2009

                                            COMPENSATION BY MATTER

Matter                                                                                                   Total Billed         Total Fees
                                              Matter Description
Number                                                                                                     Hours              Requested

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     8       Employee Benefits/Pension                                                                             0.30            $ 187.50

    11       Fee Applications, Applicant                                                                           8.80          $4,465.00

    12       Fee Applications, Others                                                                              1.50            $ 937.50

    13       Financing                                                                                            25.40        $13,505.00

    14       Hearings                                                                                              4.10          $2,562.50



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     Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
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     Company, H-G Coal Company.


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     Matter                                                                          Total Billed   Total Fees
                                           Matter Description
     Number                                                                            Hours        Requested

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    Totals for Matters                                                                    266.70    $145,342.50



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Total:                                                                                                   $1,707.64




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